Case 2:Ol-cv-O2478-BBD-dkv Document 221 Filed 04/19/05 Page 1 of 4 Page|D 292

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 EEDR |9 PM Z. 3'-
THE CLARK CONSTRUCTION

GROUP, INC.,

P\OBEF~IT ."-i 33 ' 'F! 10
CL{:`§~R'Ki US. §§ ¢`. CT.
W,D, OF TN, Mt:'NIPH|S
Plaintiff,
VS.

Civil Action No. 01-2478»DB
EAGLE AMALGAMATED SERVICES
lNC., et al.,

Defendant.

AGREED ORDER OF DISMISSAL WITHOUT PREJUDICE
By agreement of the parties, and for good cause shown,
It is hereby ORDERED, ADJUDGED AND DECREED that all claims asserted by
Lexington Insurance Company against ICI Explosives USA, Inc. in the above matter are

dismissed Without prejudice, and each party to bear their own costs, attorney fees and expenses

IT IS SO ORDERED.

ENTERED this aj day oprril, 2005.

    

DISTRICT JUDGE

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ESSEE

 

Timothy F. Brown

ARENT FOX KINTNER PLOTKIN & KAHN
1050 Connecticut Ave., N.W.

Washington, DC 20036--533

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

David T. Dekker

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

W. Bruce Baird

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

William L. Bomar
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Steven M. Crawford

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Randall P. Mueller

CAREY OMALLEY WH[TAKER & MANSON PA
712 Oregon Avenue

Tampa7 FL 33606

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Warren D. McWhirter
McWH[RTER WYATT & ELDER
73 Union Ave.

1\/1emphis7 TN 38103

George T. LeWis

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Charles .1. Gearhiser

GEARHISER PETERS LOCKABY & TALLANT PLLC
320 McCallie Avenue

Chattanooga, TN 37402

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Sam D. Elliott

GEARHISER PETERS LOCKABY & TALLANT PLLC
320 McCallie Avenue

Chattanooga, TN 37402

Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Robert Y. GWin

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

.1 ames H. Stock

WEINTRAUB STOCK & GRISHAM
1715 Aaron Brenner Dr.

Ste. 512

1\/1emphis7 TN 38120

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.1. Gregory Grisham

WEINTRAUB STOCK & GRISHAM
1715 Aaron Brenner Dr.

Ste. 512

1\/1emphis7 TN 38120

Kenneth O. Cooper

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/1emphis7 TN 38103

M. Clark Spoden

FROST BROWN TODD LLC
424 Church St.

Ste. 1600

Nashville, TN 37219

Michael Evan .1 affe

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Ann E. Georgehead

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Barry L. HoWard

RUTH HOWARD TATE & SOWELL
150 Second Avenue, N.

Ste. 201

Nashville, TN 37219--178

Honorable Bernice Donald
US DISTRICT COURT

